
703 S.E.2d 441 (2010)
CARY CREEK LIMITED PARTNERSHIP
v.
TOWN OF CARY, North Carolina.
No. 172P10.
Supreme Court of North Carolina.
November 4, 2010.
John F. Bloss, Greensboro, John C. Cooke, Raleigh, for Cary Creek Ltd. Partnership.
Prior report: ___ N.C.App. ___, 690 S.E.2d 549.

ORDER
Upon consideration of the petition filed on the 21st of April 2010 by Plaintiff in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 4th of November 2010."
